Case 2:05-Cr-20211-BBD Document 12 Filed 06/09/05 Page 1 of 2 Page|D 11

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IN THE UNITED sTATEs DISTRICT coURT W

FoR THE wEsTERN DISTRICT oF TENNESSEE §§ |.:,FH _q PH l: w
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UNITED STATES OF AMERICA,
Plaintiff,

vs. Civ. No. 05-2021l-D[P

JOHN SIMMONS,

Defendant.

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ORDER FOR EXAMINATION PURSUANT TO 18 U.S.C. § 4241

 

THIS CAUSE having come before the court upon the petition of
defendant John Simmons for an evaluation of his mental condition,
pursuant to 18 U.S.C. § 4241; and the court having reasonable cause
thereto, ORDERS the United States Marshal to convey the defendant
to a facility which will provide an examination of the defendant
pursuant to 18 U.S.C. § 4241, in order to determine his competence
to stand trial, and to return him to the jurisdiction of this court

upon completion of the examination.

'C:t

TU M. PHAM
United States Magistrate Judge

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Date

IT IS SO ORDERED.

 

 

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This notice confirms a copy of the document docketed as number 12 in
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Honorable Bernice Donald
US DISTRICT COURT

